L+0
   Fill in this information to identify your case:

   Debtor 1                   YANCYANDERSON
                              First Name                           Middle Name                          Last Name

   Debtors
                                                                                                                                                                   1m§JflN'8PM2:5'1
   (Spouse if, filing)        First Name                           MiddleName                           Last Name


   United States Bankruptcy Court for the:                  DISTRICT OFARIZONA

   Case number
   (if known)                                                                                                                                                     D Check if this is an
                                                                                                                                                                    amended filing



 Official Form 106Sum
 Summa of Your Assets and Liabilities and Certain Statistical Information                                                                                                  12/15
 Beas completeandaccurateas possible. Iftwo married people arefilingtogether, bothareequally responsibleforsupplying correct
 information.Fill outall ofyourschedulesfirst; then complete the informationon thisform. Ifyou arefilingamendedschedulesafteryou file
 your original forms, you must fill out a new Summary and check the box at the top of this page.
  Parti          SummarizeYour Assets




  1.     ScheduleMB: Property (Official Form 106MB)
          1a.Copyline55, Total realestate, from ScheduleA/B................................................................................................          $             170,000.00

          1b.Copytine62, Total personal property, from ScheduleA/B.....................................................................................              $               3.835.00

          1c. Copy line 63, Total ofall property on Schedule A/B...............................................................................................      $             173, 835. 00
  Part 2:        SummarizeYour Liabilities




  2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
         2a.Copythetotalyou listedinColumnA, Amountofclaim, atthebottomofthe lastpageofPart1 of ScheduleD...                                                         $             169,804.00
  3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
         3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $                5, 500. 00
         3b. Copy thetotal claimsfrom Part2 (nonpriorityunsecuredclaims)from line6j of Sc/iecfuteE/F............................                                    $              28,665.00


                                                                                                                                     Yourtotal liabilities $                  203,969.00

  Part 3:       Summarize Your Income and Ex enses

  4.     Schedule I: Your Income (Official Form 1061)
         Copy your combined monthly income from line 12 of Schedule /................................................................................               $                1,440. 00
  5.     Schedule J: Your Expenses (Official Form 106J)
         Copy your monthly expenses from line 22c of Sc/iecfuteJ..........................................................................                          $                1,820. 00
  Part 4        AnswerThese Questions for Administrative and Statistical Records

  6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         a      No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
  7.    Whatkind of debtdo you have?

                Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
                household purpose. " 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U. S.C. § 159.

         D Your debts are not primarily consumerdebts. You have nothing to report on this part of the form. Checkthis box and submit this form to
                the court with your other schedules.
  Official Form 106Sum                     Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
 SoftwareCopyright(c) 1996-2018BestCase, LLC- www.bestcase.com                                                                                                            BestCaseBankruptcy
                Case 4:19-bk-00192-BMW                                 Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                                         Desc
                                                                       Main Document   Page 1 of 40
   Debtor1       YANCYANDERSON                                                              Case number(if known)

  8.     Fromthe Statementof YourCurrent MonthlyIncome:Copyyourtotal currentmonthly incomefrom OfficialForm
         122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                  1,433. 00

  9.     Copy the following special categories of claims from Part4, line 6 of Schedule E/F:




        9a. Domestic support obligations (Copy line 6a.)                                                                    0. 00
        9b. Taxes and certain other debts you owe the government. (Copy line Sb.)                                     5, 500. 00

        9c. Claimsfordeathorpersonal injurywhileyouwereintoxicated.(Copyline6c.)                                            0.00
        9d. Student loans. (Copy line 6f.)                                                                                 0.00
        9e. Obligations arising out of a separation agreement or divorce that you did not report as
            priority claims. (Copy line 6g. )                           $                                                  0.00

        9f. Debtsto pensionor profit-sharingplans, andothersimilardebts. (Copyline6h.)                 +$                  0.00

        9g. Total. Add lines 9a through 9f.                                                                         5, 500. 00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                  Best Case Bankruptcy
            Case 4:19-bk-00192-BMW                               Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                     Desc
                                                                 Main Document   Page 2 of 40
  Fill in this information to identify your case and this filing:
  Debtor 1                    YANCYANDERSON
                              First Name                                MiddleName                      Last Name
  Debtor 2
  (Spouse, if filing)         First Name                                MiddleName

  United States Bankruptcy Courtfor the: DISTRICTOFARIZONA

  Case number                                                                                                                                                D   Check if this is an
                                                                                                                                                                 amended filing


 Official Form 106A/B
 Schedule A/B: Pro e                                                                                                                                             12/15
 In^sach category, separately list and describe items. List an asset only once. Ifan asset fits in more than one category, list the asset in the category where you think
 it fits best Beascompleteandaccurateas possible.Iftwomarriedpeoplearefilingtogether, both areequally responsibleforsupplyingcorrectinformation.If
 more space is needed, attach a separate sheetto this form. Onthetop ofany additional pages, write your name and case number (if known). Answer every question.
  Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable Interest in any residence, building, land, or similar property?

    D No. Goto Part2.
        Yes. Where is the property?




 1.1                                                                           What is the property? Check all that apply
        21356 N DUNCAN DR                                                              Single-family home                        Qenotdeductsecuredclaimsor exemptions. Putthe
        Street address, if available, or other description                                                                       amount ofany secyred claims on Schesfule D:
                                                                                 Q Duplexormulti-unit building                   CiBdltorsWhoHaveClaimsSecuredby Property.
                                                                                       Condominium or cooperative

                                                                                 D Manufacturedor mobile home
                                                                                                                                 Current value of the        Current value of the
        Maricopa                          AZ         85138-0000                  Q Land                                          entire property?            portion you own?
        City                               State             ZIP Code            D Investment property                                  $170, 000. 00               $170, 000. 00
                                                                                 D Timeshare
                                                                                                                                 Describethe nature of your ownershipinterest
                                                                                 D Other                                         (such as fee simple, tenancy bythe entireties, or
                                                                              Who has an Interest in the property? Check one     a life estate), if known.
                                                                                       Debtor 1 only
        Pinal                                                                    D Debtor2 only
        County
                                                                                 D Debtor 1 andDebtor2 only
                                                                                                                                      Checkif this is community property
                                                                                       At least one of the debtors and another        (see instructions)
                                                                              Otherinformation you wishto add aboutthis item, such as local
                                                                              property Identification number:




 2. Addthe dollarvalue ofthe portion you ownforall ofyourentries from Part1, includinganyentriesfor
       pages you have attached for Part 1. Write that number here........................................................................... =>                  $170,000.00
 Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include anyvehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 ScheduleA/B: Property                                                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. cGm                                                                                               Besl Case Bankruptcy

               Case 4:19-bk-00192-BMW                                     Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                           Desc
                                                                          Main Document   Page 3 of 40
  Debtor 1           YANCYANDERSON                                                                                 Case number (if known)

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    D No
          Yes


   31 Make:             BUICK                                     Who has an interest in the property? Checkone           Do not deductsecuredclaimsor exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
            Model:      PARKAVENUE                                     Debtor 1 only                                      Creditors Who Ham Claims Secured by Property.
            Year:       2000                                      D Debtor2 only                                          Current value of the      Current value of the
            Approximate mileage:                222, 000          D Debtor 1 and Debtor 2 only                            entire property?          portion you own?
            Other information:                                    D At least one ofthe debtors and another

                                                                  D Checkifthisiscommunityproperty                                 $1,000.00                   $1,000.00
                                                                       (see instructions)



   32 Make:             HYUNDAI                                   Who has an Interest in the property? Check one          Donotdeductseeuredclaimsor exemptions. Put
                                                                                                                          the amount o( any secured claims on Schedule D:
            Model: SONATA                                              Debtor 1 only                                      CrecStors Who Haw Claims Secured t>y Property.
            Year:       2015                                      D Debtor 2 only                                         Current value of the      Current value of the
            Approximatemileage:                110, 000           D Debtor 1 and Debtor2 only                             entire property?          portion you own?
            Other information:                                    D At leastoneofthedebtorsandanother

                                                                  D CheckIfthisiscommunityproperty                                 Unknown                     Unknown
                                                                       (see instructions)



   3.3      Make:      SUNCREST RV                                Whohasan Interest Intheproperty? checkone              Donot deductsecuredclaimsorexemptions. Put
                                                                                                                         the amountofanysecuredclaimson ScheduleD-
            Model:                                                     Debtor 1 only                                     Creditois Who Have Claims Secured by Property.
            Year:      1990                                       D Debtor 2 only                                        Current value of the       Current value of the
            Approximate mileage:               130, 000           D Debtor 1 and Debtor 2 only                           entire property?           portion you own?
            Other information:                                    D At least one ofthe debtors and another
           NOT RUNNING
                                                                  D Check ifthis is community property                               $800.00                     $800.00
                                                                       (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

         No
   D Yes



 5 Add the dollarvalue ofthe portionyou ownforall ofyourentriesfrom Part2, includinganyentries for
    .
        pages you hdve attached for Part 2. Write that number here.                                                                   .
                                                                                                                                          =>               $1, 800. 00

 Part 3:      Describe Your Personal and Household Items
 Doyou ownor haveanylegal orequitableinterestin anyofthefollowingitems?                                                                          Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
        Examples: Major appliances, furniture, linens, china, kitchenware
    D No
          Yes. Describe.....


                                      4 BEDS200.00, 1 DRESSER20.00, 2 COUCHES150.00, 2 END
                                      TABLES40.00, 1 ENTERTAINMENTCENTER50.00, 1 KITCHEN
                                      TABLE 6 CHAIRS 75. 00, 1 STOVE 100. 00, 1 REFRIGERATOR
                                      100. 00, 1 WASHER 150. 00, 1 DRYER 100. 00, 3 TVS 150. 00, 1
                                      COMPUTER 150. 00, 1 TABLET 50. 00                                                                                        $1,335.00



Official Form 106A/B                                                        Schedule A/B: Property                                                                    page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com
                                                                                                                                                          Best Case Bankruptcy

              Case 4:19-bk-00192-BMW                               Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                         Desc
                                                                   Main Document   Page 4 of 40
  Debtor 1       YANCY ANDERSON                                                                   Case number (if known)

 7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
         No
     D Yes. Describe.....

 8. Collectibles of value
     Examples:Antiquesandfigurines;paintings,prints, or otherartwork; books, pictures, or otherartobjects; stamp, coin, or baseballcard collections;
                  other collections, memorabilia, collectibles
        No
     D Yes. Describe.....

 9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                  musical instruments
        No
     D Yes. Describe.....

 10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
    D Yes. Describe.....

 11. Clothes
     Examples: Everydayclothes, furs, leathercoats, designerwear, shoes, accessories
    a No
        Yes. Describe.....

                                   CLOTHES                                                                                                       $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    a No
        Yes. Describe.....

                                   2 WATCHES                                                                                                    $200.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
    D Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
    D Yes. Givespecificinformation.....

 15. Addthe dollarvalue ofall ofyourentriesfrom Part3, includinganyentriesfor pagesyou haveattached
       for Part 3. Write that number here                                                                                                $1, 735. 00

 Part 4: DescribeYour FinancialAssets
 Doyou ownor haveanylegal orequitableinterest in anyofthefollowing?                                                            Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured
                                                                                                                               claims or exemptions.
16. Cash
      Examples: Money you have in yourwallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
    D Yes..



Official Form 106A/B                                             Schedule A/B: Property                                                             page 3
SoftwareCopyright(c) 1996-2018Best Case, LLC- www.bestcase.com                                                                          Best Case Bankruptcy

             Case 4:19-bk-00192-BMW                         Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                             Desc
                                                            Main Document   Page 5 of 40
 Debtor 1        YANCY ANDERSON                                                                              Case number (if known)

*''. Deposits of money
      Examples:Checking, savings, or otherfinancialaccounts; certificates of deposit; shares in credit unions, brokerage houses, and othersimilar
                     institutions. If you have multiple accounts with the same institution, list each.
    D No
        Yes........................                                       Institution name:

                                       17. 1. Checking                                                                                                   $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
   D Yes..................        Institution or issuer name:

19. Non-publiclytraded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
    D Yes. Give specificinformation aboutthem.
                                          Name of entity:                                                      % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
    D Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
    D Yes. Listeach accountseparately.
                                       Type of account:                   Institution name:

22. Security deposits and prepayments
      Yourshare of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
    D Yes......................                                Institution name or individual:

23. Annuities (A contractfor a periodic payment of moneyto you, eitherfor life or for a number ofyears)
      No
    D Yes.............            Issuer name and description.

24. Interests in an education IRA, in an account in a qualifiedABLE program, or undera qualifiedstate tuition program.
    26 U. S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
    D Yes.............            Institution name and description. Separately file the records of any interests. 11 U. S. C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
    D Yes. Givespecificinformationaboutthem...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internetdomain names, websites, proceeds from royalties and licensing agreements
       No
   D Yes. Givespecificinformationaboutthem...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
   D Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?

Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 4
SoftwareCopyright(c) 1996-2018BestCasa, LLC- www.bestcase.com                                                                                     BestCaseBankruptcy
             Case 4:19-bk-00192-BMW                          Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                       Desc
                                                             Main Document   Page 6 of 40
  Debtor 1        YANCYANDERSON                                                                              Case number (if known)

                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

 28. Tax refunds owed to you
          No
      D Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


 29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
          No
      D Yes. Give specific information......


30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
                      benefits; unpaid loans you made to someone else
        No
      D Yes. Give specific information..

31 Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     No
      D Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                     Surrenderor refund
                                                                                                                                      value:

32. Any interest in property that is due you from someone who has died
       Ifyou arethe beneficiaryofa livingtrust, expectproceedsfrom a life insurancepolicy, orarecurrentlyentitled to receiveproperty because
       someone has died.
          No
      D Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
      D Yes. Describe each claim.

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
          No
      D Yes. Describe each claim.

35. Any financial assets you did not already list
          No
      D Yes. Givespecificinformation..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here.                                                                                                        $300.00


 Part 5: DescribeAny Business-Related PropertyYou Own or Havean InterestIn. Listany real estate in Part 1.

37        you ownor haveany legal or equitable Interest in any business-related property?
        No. Go to Part 6.
     D Yes. Goto line38.


 Part 6     DescribeAny Farm-and Commercial Fishing-RelatedPropertyYou Own or Havean Interest In.
            Ifyou own or have an interest in farmland, list it in Part 1.


46.        you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
       D Yes. Goto line 47.

Official Form 106A/B                                                        Schedule A/B: Property                                                         page 5
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                             Best Case Bankruptcy
               Case 4:19-bk-00192-BMW                             Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                               Desc
                                                                  Main Document   Page 7 of 40
  Debtor 1        YANCY ANDERSON                                                                           Case number (if known)


  Part 7:         DescribeAll PropertyYou Own or Havean Interest in ThatYou Did Not ListAbove

 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
      No
     D Yes. Give specific information.

  54. Add the dollar value of all of your entries from Part 7. Write that number here                                                             $0. 00

  Parts:        List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2                                                                                                      $170, 000. 00
 56. Part 2: Total vehicles, line S                                                       $1, 800. 00
 57.    Part 3: Total personal and household items, line 15                               $1 735. 00
 58.    Part 4: Total financial assets, line 36                                                $300.00
 59. Part 5: Total business-related property, line 45                                            $0.00
 60. Part 6: Total farm-and flshing-related property, line 52                                    $0. 00
 61. Part 7: Total other property not listed, line 54                                            $0. 00
 62. Total personal property. Add lines 56 through 61...                                  $3,835.00       Copy personal property total          $3, 835. 00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                        $173, 835. 00




Official Form 106A/B                                                  Schedule A/B: Property                                                          page6
Software Copyright (c) 1996-2018 Best Case, LLC-vnvw. bestcase. com                                                                       Best Case Bankruptcy

            Case 4:19-bk-00192-BMW                                Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                          Desc
                                                                  Main Document   Page 8 of 40
  Fill in this information to identify your case:

  Debtor 1                  YANCY ANDERSON
                            First Name                         Middle Name                  Last Name

  Debtor 2
  (Spouse if, filing)       First Name                         MiddleName                   Last Name


  United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

  Case number
  (if known)                                                                                                                             D Check if this is an
                                                                                                                                           amended filing

 Official Form 106C
 Schedule Cs The Property You Claim as                                                                      empt                                                  4/16

Be as complete and accurate as possible. Iftwo married people are filing together, both are equally responsiblefor supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amountas exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Someexemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100%of fair market value undera lawthat limits the
exemption to a particular dollar amount and the value of the property is determined to exceedthat amount, yourexemption would be limited
to the applicable statutory amount.
 Parti:          Identi the Pro e          You Claim as Exem t

 1. Whichset of exemptions areyou claiming? Checkone only, even if yourspouse is filingwithyou.
           You are claiming state and federal nonbankruptcyexemptions. 11 U. S.C. § 522(b)(3)
       D Youareclaimingfederalexemptions. 11 U. S.C. § 522(b)(2)
 2. For any property you list on ScheduleA/Bthat you claim as exempt, fill in the information below.
       Brief description of the property and line on              Current value of the   Amount of the exemption you claim        Specificlawsthat allowexemption
                                                                  portion you own
                                                                                         Cheek only wte box for each exemption.
                                                                  Setiwitile A/B

      21356 N DUNCANDRMaricopa,AZ                                      $170, 000. 00                               $12, 008.00    Ariz- Rev- stat § 33-1101(A)
      85138 Pinal County
       Line from Schedule A/B: 1.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      2000 BUICK PARK AVENUE 222, 000                                     $1, 000. 00                                $1,000.00    Ariz- Rev-stat- § 33-1125(8)
      miles
      Line from Schedule A/B: 3.1                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      4 BEDS 200. 00. 1 DRESSER 20. 00, 2                                 $1, 335. 00                               $1,335. 00    Ariz- R®v-stet § 33-1123
      COUCHES 150. 00, 2 END TABLES
      40. 00, 1 ENTERTAINMENT CENTER                                                          100% affair market value, up to
      50. 00, 1 KITCHEN TABLE 6 CHAIRS                                                        any applicable statutory limit
      75. 00, 1 STOVE 100. 00, 1
      REFRIGERATOR 100. 00, 1 WASHER
      150. 00, 1 DRYER 100. 00, 3 TVS
      150. 00, 1 COMPUTER 150. 00, 1
      TABLET 50.00
      Line from Schedule A/B: 6.1

      CLOTHES                                                                $200. 00                                  $200.00    Ariz-Rev-Stat.§ 33-1125(1)
      Line from Schedule A/B: 11.1
                                                                                              100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                                                                 Best Case Bankruptcy

               Case 4:19-bk-00192-BMW                             Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                     Desc
                                                                  Main Document   Page 9 of 40
  Debtor1      YANCYANDERSON                                                                              Case number (if known)


                                                                 portion you own
                                                                 Copy the value (rom   Clfeck only wo tiw tor each exemption.


      2 WATCHES                                                                                                      $200.00       Ariz- Rev- stat § 33-1125(6)
                                                                           $200. 00
       Line from Schedule A/B: 12.1
                                                                                       D 100%offairmarketvalue,upto
                                                                                            any applicable statutory limit

      Checking:                                                            $300.00                                   $300. 00      Ariz- Rev- stat- §
      Line from Schedule A/B: 17.1                                                                                                 33-1126(A)(9)
                                                                                       0 100%offairmarket value, upto
                                                                                            any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No

      D Yes. Didyou acquirethe propertycovered by the exemptionwithin 1,215daysbeforeyou filedthis case?
             D      No
             D      Yes




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC-wtvw. bestcase. com                                                                                 Best Case Bankruptcy
            Case 4:19-bk-00192-BMW                               Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                     Desc
                                                                Main Document    Page 10 of 40
  Fill in this information to identify your case:-

 Debtor 1                    YANCYANDERSON
                             First Name                        Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)         First Name                        Middle Name                      Last Name


 United States BankruptcyCourtforthe:                   DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                                      d Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors                                    ho Have Claims Secured by Property                                                                          12/15
Be as complete and accurateas possible. Iftwo married peoplearefiling together, both are equally responsiblefor supplying correct information. If more space is
needed, copythe AdditionalPage,fill it out, numberthe entries, and attach it to this form. Onthe top of any additional pages,writeyour nameand case number(if
known).
1. Do any creditors have claims secured by your property?
        D No. Checkthisboxandsubmitthisform to the courtwithyourotherschedules.You have nothingelse to report on thisform.
           Yes. Fill in all of the information below.
 Part 1         List All Secured Claims
                                                                                                              Column A               Calumn B                Column C
 2. Listall securedclaims. Ifa creditorhasmore thanonesecuredclaim, listthe creditorseparatelyfor
 each claim. Ifmore than one creditor has a partt'cular Glaina, list the other creditors in Part 2. As much   Amount of cfafm        Value of collateral     Unsecured
 as possible, list the claims in alphabetical order according to the creditor's name.                         Do not deduct the      that supports this      portion
                                                                                                              value of collateral.   claim                   « any
 2.1
          CAPITALONEAUTO
          FINANCE                                    Describe the property that secures the claim:                $11, 812. 00               Unknown             Unknown
          Creditor's Name                            2015 HYUNDAI SONATA 110, 000
                                                     miles

                                                    As of the date you file, the claim is: Check all that
          PO BOX 259407                             apply.
          Piano, TX 75025                            D Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                     D Disputed
 Who owes the debt? Check one.                       Nature of lien. Checkall thatapply.
       Debtor 1 only                                    An agreement you made (such as mortgage or secured
 D Debtor 2 only                                         car loan)
 D Debtor 1 and Debtor 2 only                        D Statutory lien (such astax lien, mechanic's lien)
 D At leastoneofthedebtorsandanother                 D Judgment lien from a lawsuit
 D Check ifthis claim relates to a                   D Other (including a rightto offset)
       community debt

 Datedebtwas incurred            07/01/16                    Last 4 digits of account number         4158


 2. 2 INTERCAP LENDING INC                          Describe the property that secures the claim:               $157, 992. 00             $170, 000. 00                $0.00
         Creditor's Name
                                                    21356 N DUNCANDR Maricopa,AZ
                                                    85138 Pinal County
                                                    As of the date you file, the claim is: Check all that
         3707 EUBANK BV NE                          apply.
         Albuquerque, NM 87111                       D Contingent
         Number, Street, City, State & Zip Code         Unliquidated
                                                    D Disputed
 Who owes the debt? Check one                       Nature of lien. Check all thatapply.
       Debtor 1 only                                    An agreement you made (such as mortgage or secured
 D Debtor 2 only                                         car loan)

 D Debtor 1 and Debtor2 only                        D Statutory lien (such astax lien, mechanic's lien)
 D At least one of the debtors and another          D Judgment lien from a lawsuit
 D Check ifthis claim relates to a                  D Other(Includinga righttooffset)
       community debt

 Datedebtwas Incurred 08/01/17                               Last 4 digits of account number        4158


Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                                                                        Best Case Bankruptcy
              Case 4:19-bk-00192-BMW                              Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                            Desc
                                                                 Main Document    Page 11 of 40
 Debtor 1 YANCYANDERSON                                                                          Case number (if known)
               First Name                 Middle Name                  Last Name




   AddthedollarvalueofyourentriesInColumnA onthispage.Writethatnumberhare:                                       $169,804.00
    If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                         ~                   ,         pioa, out.i

 Part 2: List Others to Be Notified for a Debt That You Alread Listed
 Use this page only if you have others to be notified about your bankruptcy for a debtthat you already listed In Part 1. For example, it a collection agency is trying
 to collect from you for a debt you oweto someone else, list the creditor In Part 1, and then Hstthe collection agency here. Similarty, if you have more than one
 creditorfor anyofthe debtsthatyou listed hi Part1, listtheadditionalcreditors here. Ifyou do not haveadditionalpersonsto be notified for anydebts in Part1,
 do not fill out or submit this page.




Official Form 106D                    Additional Pageof ScheduleD: Creditors Who Have Claims Secured by Property                                            page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                                                                  Best Case Bankruptcy
            Case 4:19-bk-00192-BMW                                Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                      Desc
                                                                 Main Document    Page 12 of 40
  Fill in this information to identify your case:

 Debtor 1                     YANCY ANDERSON
                              First Name                      Middle Name                         LastName
 Debtor 2
 (Spouse If, filing)          First Name                      MiddleName                          Last Name


 United States BankruptcyCourt for the:                 DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                                                D Check if this is an
                                                                                                                                                             amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Beas complete and accurateas possible. Use Part 1 for creditorswith PRIORITYclaims and Part2 for creditors with NONPRIORirrclaims. Listthe other partyto
any executorycontracts or unexpired leasesthat could result in a claim. Also list executorycontracts on ScheduleA/B: Property (Official Form 106A/B)and on
ScheduleG: ExecutoryContracts and UnexpiredLeases(Official Form 106G). Do not Includeany creditors with partially secured claimsthat are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Pageto this page. Ifyou have no informationto report in a Part, do notfilethat Part. On the top of any additional pages, writeyour nameand case
number (if known).
 Part 1:           List All of Your PRIORFTY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
       D No. Goto Part2.
           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than (me priority unsecured claim, fist die creditor separately for each claim. For each claim listed,
       Identity what type of eiaim It is. If a elatm has both priority and nonprioilty amounts, list fliat claim here and show both pilofity and nonprierity afflounts. As much as
       possible, listtheclaims inalphabeticalorderaccordingto thecreditor's name. Ifyou havemore thantwo priority unsecuredclaims,fill outthe ContinuationPageof Part
       1. If more than one cneaitorholdsa partksuiardalm, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instmetton booklet.)
                                                                                                                           Total claim           PriorHy                 Nonpriority
                                                                                                                                                 amount                  amount
 2.1          INTERNAL REVENUE SERVICE                                 Last4 digits of account number 4158                       $5, 500. 00            $5, 500. 00                     $0.00
              Priority Creditor's Name
              PO BOX 21126                                             Whenwasthe debt incurred?              2011-2016
              Philadel hia PA 19114
              Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                              D Contingent
              Debtor 1 only                                               Unliquidated
         D Debtor2 only                                                D Disputed
         D Debtor1 andDebtor2 only                                     Type of PRIORITV unsecured claim:
         D At least one of the debtors and another                     D Domestic support obligations
         D Check if this claim is for a community debt                    Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                D Claims fordeath or personal injurywhileyouwere intoxicated
              No                                                       D Other. Specify
         D Yes                                                                              PERSONALINCOMETAX

 Part 2:           List All of Your NONPRIORin Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

       D No.Youhavenothingtoreportinthispart.Submitthisformtothecourtwithyourotherschedules.
           Yes.

 4. Listall ofyour nonpriority unsecuredclaims in thealphabeticalorder of the creditor whoholdseachclaim. Ifa creditorhas morethan one nonpriorityunsecured
       claim, list the creditor separately for each claim. For each claim listed, identity what type of claim it is. Do not list claims already ineludect in Part 1. If more than one
       creditorholdsa particularcfaim, listtheotherereEtitorsin Part3. 1fyou havemorethan three nonpriorltyunsecuredclaimsfill out8ieContinuation Pageof Part2.
                                                                                                                                                                  Total claim




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                                     Page 1 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                               43775                                                  Best Case Bankmptey

              Case 4:19-bk-00192-BMW                              Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                                         Desc
                                                                 Main Document    Page 13 of 40
 Debtor 1 YANCYANDERSON                                                                                      Case number (ifknown)

            APPLIED BANK                                                Last4 digits of account number         4158                                             $931.00
            Nonpriority Creditor's Name
            4700 EXCHANGECOURT                                          When was the debt Incurred?            07/01 /16
            Boca Raton, FL 33431
            Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                        D Contingent
                Debtor 1 only
                                                                            Unliquidated
            D Debtor 2 only
                                                                        D Disputed
            D Debtor1 andDebtor2 only                                   Type of NONPRIORITY unsecured claim:
            D At least one ofthe debtors and another                    D Student loans
            D Checkifthisclaimisfora communitydebt                      D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                             report as priority claims
                No                                                      D Debtsto pension or profit-sharing plans, and other similar debts
            D Yes                                                           Other.Specify CREDIT

 4.2       ARS NATIONALSERVICES                                         Last 4 digits of account number        0433                                          $3, 961. 00
            Nonpriority Creditor's Name
           POO BOX 469046                                               When was the debt incurred?            08/21/18
           Escondido, CA 92046
           NumberStreet City StateZip Code                              As of the date you file, the claim Is: Check all that apply
           Who incurred the deM? Check one.
                                                                        D Contingent
               Debtor 1 only
                                                                            Unliquidated
           D Debtor 2 only
                                                                        D Disputed
           D Debtor 1 and Debtor 2 only                                 Type of NONPRIORITY unsecured claim:
           D At leastoneofthedebtorsandanother                          D Student loans
           D Check if this claim is for a community debt                D Obligations arising out ofa separation agreement or divorce thatyou did not
           Is the claim subject to offset?                              report as priority claims
               NO                                                       D Debtsto pension or profit-sharing plans, andother similar debts
           D Yes                                                           Other.Specify WEBBANK

           ASSOC INTERNISTS OF
 4.3       AHWATUKEE                                                    Last4 digitsofaccountnumber            3900                                            $120. 00
           Nonpriority Creditor's Name
           4530 E MUIRWOOD DR STE 105                                   Whenwasthe debt Incurred?              07/01/18
           Phoenix, AZ 85048. 7693
           NumberStreetCityStateZip Code                                As of the date you file, the claim is: Check all that apply
           WhoIncurredthe debt? Checkone.
                                                                        D Contingent
               Debtor 1 only
                                                                           Unliquidated
           D Debtor2 only
                                                                        D Disputed
           D Debtor 1 and Debtor 2 only                                 Type of NONPRIORITV unsecured claim:
           D At least one ofthe debtors and another                     D Student loans
           D Checkifthisclaimisfora communitydebt                       D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Isthe claim subjectto offset?                                report as priority claims
               No                                                       D Debts to pension or profit-sharing plans, andothersimilar debts
           D Yes                                                           OtherSpecify CREDIT




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 12
Software Copyright (c) 1996-201 8 Best Case, LLC - www. bestcase. com                                                                                   Best Case Bankruptcy
            Case 4:19-bk-00192-BMW                                 Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                       Desc
                                                                  Main Document    Page 14 of 40
 Debtor 1 YANCYANDERSON                                                                                 Case number (if known)

 4.4       BEST BUY/CBNA                                           Last 4 digits of account number        4158                                          $2, 043. 00
           Nonpriority Creditor's Name
           PO BOX 6497                                             When was the debt incurred?            07/01/16
           Sioux Falls, SD 57117
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                   D Contingent
              Debtor 1 only
                                                                       Unliquidated
           D Debtor2 only
                                                                   D Disputed
           D Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another               D Student loans
           D Check if this claim is for a community debt           D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                         report as priority claims
              No                                                   D Debtsto pensionorprofit-sharingplans, andothersimilardebts
           D Yes                                                      Other. Specify CREDIT

 4.5       CAPITALONE BANK USA NA                                  Last 4 digits of account number        4158                                          $1, 647. 00
           Nonpriority Creditor's Name
           POB 30281                                               Whenwasthe debt incurred?              06/01/17
           Salt Lake Ci , UT 84130-0281
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                   D Contingent
              Debtor 1 only
                                                                       Unliquidated
           D Debtor 2 only
                                                                   D Disputed
           D Debtor 1 and Debtor 2 only                            Type of NONPRIORITl' unsecured claim:
           D At leastoneofthedebtorsandanother                     D Student loans
           D Check ifthis claim is for a community debt            D Obligations arising out ofa separation agreement ordivorce thatyou did not
           Is the claim subject to offset?                         report as priority claims
              No                                                   D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                      Other. Specify CREDIT

 4.6      CB INDIGO                                                Last 4 digits of account number        4158                                            $297.00
          Nonpriority Creditor's Name
           PO BOX4499                                              When was the debt incurred?            06/01 /18
          Beaverton, OR 97076
          NumberStreetCityStateZip Code                            As of the date you file, the claim Is: Check all that apply
          Who incurred the debt? Check one.
                                                                   D Contingent
              Debtor 1 only
                                                                      Unliquidated
           D Debtor 2 only
                                                                   D Disputed
           D Debtor 1 and Debtor 2 only                            Type of NONPRIORIT/unsecuredclaim:
          D At least one ofthe debtors and another                 D Student loans
          D Check ifthis claim is for a community debt             D Obligations arising out ofa separation agreement or divorce thatyou did not
          Isthe claim subjectto offset?                            report as priority claims
              No                                                   D Debtsto pensionor profit-sharingplans, andothersimilardebts
          D Yes                                                       Other. Specify CREDIT




Official Form 106 E/F                                  ScheduleE/F: CreditorsWho HaveUnsecured Claims                                                    Page 3 of 12
Software Copyright (c) 1996-2018 Best Case, LLC-www.bestcase.com                                                                                   Best Case Bankruptcy
           Case 4:19-bk-00192-BMW                             Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                       Desc
                                                             Main Document    Page 15 of 40
 Debtor 1 YANCYANDERSON                                                                                  Case number (if known)

           CEDARS HEART CLINIC
 4.7       CHANDLER                                                  Last4 digitsofaccountnumber            5932                                               $33.00
           Nonpriority Creditor's Name
           1960WFRYERD                                               When was the debt incurred?            06/01/17
           SUITE 5
           Chandler AZ 85224
           NumberStreetCityStateZip Code                             As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
               Debtor 1 only
                                                                        Unliquidated
           D Debtor2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           a At least one of the debtors and another                 D Studentloans
           D Check ifthis claim Is fora community debt               D Obligations arising out ofa separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

               No                                                    D Debtsto pensionor profit-sharingplans,andothersimilardebts
           D Yes                                                        Other. Specify CREDIT

4.8        CELTIC BANK                                               Last4 digits of account number         4158                                             $297. 00
           Nonpriority Creditor's Name
           268 STATE ST                                              When was the debt incurred?            05/01/18
          #300
          Salt Lake Ci           UT 84111
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Whoincurredthe debt? Checkone.
                                                                     D Contingent
              Debtor 1 only
                                                                        Unliquidated
           a Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 D Studentloans
           D Check ifthis claim is for a community debt              D Obligations arising outofa separation agreement ordivorce that you did not
           Is the claim subject to offset?                           report as priority claims
              No                                                     D Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                        Other. Specify CREDIT

4.9        CITY OF PHOENIXETS                                        Last 4 digits of account number        7705                                               $25. 00
           Nonpriority Creditor's Name
           PO BOX 29102                                              Whenwasthe debt incurred?              06/01/17
           Phoenix, AZ 85038-9360
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     D Contingent
               Debtor 1 only
                                                                        Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITYunsecured claim:
           D At least one of the debtors and another                 D Student loans
           D Checkifthisclaimisfora communitydebt                    D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
              No                                                     D Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                        Other. Specify CREDIT




Official Form 106 E/F                                   ScheduleE/F: CreditorsWhoHave Unsecured Claims                                                      Page 4 of 12
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                                    Best Case Bankruptcy
           Case 4:19-bk-00192-BMW                              Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                         Desc
                                                              Main Document    Page 16 of 40
 Debtor 1 YANCYANDERSON                                                                                  Case number (ifknown)

 4. 10     COMENinr CAPITALBANK                                      Last 4 digits of account number        UNTS                                             $891.00
           Nonpriority Creditor's Name
           PO BOX 182120                                             Whenwasthe debtincurred?               03/01/18
           Columbus, OH 43218
           Number Street City State Zip Code                         As of the date you file, the claim is; Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
               Debtor 1 only
                                                                         Unliquidated
           D Debtor2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At leastoneofthedebtorsandanother                       D Student loans
           D Check ifthis claim is fora community debt               D Obligations arising out ofa separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtsto pension or profit-sharing plans, and other similar debts
           D Yes                                                        Other.Specify CREDITZALES & WAYFAIR

4. 11      CREDIT FIRST                                              Last 4 digits of account number        4158                                             $352.00
           Nonpriority Creditor's Name
           PO BOX 81315                                              Whenwasthe debt incurred?              07/01/16
           Cleveland, OH 44181
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     D Contingent
              Debtor 1 only
                                                                        Unliquidated
           D Debtor2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 D Studentloans
           D Checkifthisclaim is fora communitydebt                  D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims

              No                                                     D Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                        Other. Specify CREDIT

4. 12      CREDITONE BANK                                            Last4 digits of accountnumber          4158                                             $361.00
           Nonpriority Creditor's Name
           PO BOX 98872                                              Whenwasthe debt Incurred?              06/01/17
           Las Ve as, NV 89193
           NumberStreetCity StateZip Code                            As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.
                                                                     D Contingent
              Debtor 1 only
                                                                        Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORIFl' unsecured claim:
           D At least one of the debtors and another                 D Student loans
           D Checkifthis claim is fora communitvdebt                 D Obligations arising out ofa separation agreement or divorce thatyou did not
           Is the claim subject to offset?                           report as priority claims
              No                                                     D Debtsto pensionorprofit-sharingplans, andothersimilardebts
           D Yes                                                        Other. Specify CREDIT




Official Form 106 E/F                                   Schedule EIF: Creditors Who Have Unsecured Claims                                                   Page 5 of 12
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                                    Best Case Bankruptcy

           Case 4:19-bk-00192-BMW                              Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                         Desc
                                                              Main Document    Page 17 of 40
  Debtor 1 YANCYANDERSON                                                                                    Case number (if known)

  4. 13     DELIVERY FINANCIAL SERVICES                                Last 4 digits of account number        4158                                        $149. 00
            Nonpriority Creditor's Name
            3710 W GREENWAYROAD                                        Whenwasthe debtincurred?               06/01/18
            SUITE 131
            Phoenix, AZ 85053
            NumberStreetCityStateZipCode                               As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                           Unliquidated
            D Debtor 2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                               Type of NONPRIORIPC unsecured claim:
            D At least one ofthe debtors andanother                    D Student loans
            D Check ifthis claim is for a community debt               D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
            Is the claim subject to offset?                            report as priority claims
               No                                                      D Debtstopensionorprofit-sharingplans,andothersimilardebts
            D Yes                                                          Other. Specify MEDICAL

 4. 14      DISCOVERBANK                                               Last 4 digits of account number        4158                                     $1,255.00
            Nonpriority Creditor's Name
            PO BOX 15316                                               When was the debt incurred?            06/01/18
           Wilmin ton, DE 19850
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.
                                                                       D Contingent
               Debtor 1 only
                                                                           Unliquidated
            D Debtor2 only
                                                                       D Disputed
            D Debtor 1 and Debtor2 only                                Type of NONPRIORIPC unsecured claim:
            D At leastoneofthedebtorsandanother                        D Student loans
            C3CheckIfthisclaimIsfora communitydebt                     D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
               NO                                                      D Debtsto pension or profit-sharing plans, and other similar debts
           D Yes                                                          Other. Specify CREDIT

           FIRST NATIONAL COLLECTION
 4. 15     BUREAU                                                      Last4 digitsofaccountnumber 5017                                                  $932. 00
           Nonpriority Creditor's Name
           PO BOX 51660                                                When was the debt incurred?            06/01/17
           S arks, NV89435
           NumberStreetCityStateZip Code                               As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       a Contingent
               Debtor 1 only
                                                                          Unliquidated
           D Debtor 2 only
                                                                       D Disputed
           D Debtor 1 and Debtor 2 only                                Type of NONPRIORirrunsecured claim:
           D At least one of the debtors and another                   D Student loans
           D Checkifthisclaimisfora communitydebt                      D Obligations arising outofa separation agreement ordivorcethatyoudidnot
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                          Other.Specify APPLIEDBANK




Official Form 106 E/F                                     ScheduleE/F: Creditors WhoHave Unsecured Claims                                               Page 6 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                                                              Best Case Bankruptcy
            Case 4:19-bk-00192-BMW                                Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                  Desc
                                                                 Main Document    Page 18 of 40
 Debtor 1 YANCYANDERSON                                                                                   Case number (ifknown)

 4. 16     FIRST PREMIER BANK                                        Last 4 digits of account number        4158                                             $33. 00
           Nonpriority Creditor's Name
           3820 N LOUISE AVE                                         Whenwasthe debt incurred?              06/01/17
           Sioux Falls, SD 57107-0145
           NumberStreetCityStateZip Code                             As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
               Debtor 1 only
                                                                         Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITf unsecured claim:
           a At leastoneofthedebtorsandanother                       D Studentloans
           D Check ifthis claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims

               No                                                    D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                        Other. Specify CREDIT

 4. 17     GINNYS                                                    Last 4 digits of account number        8630                                             $53.00
           Nonpriority Creditor's Name
           11127THAVE                                                When was the debt incurred?            06/01/17
           Monroe, Wl 53566
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     D Contingent
              Debtor 1 only
                                                                        Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           D Debtor 1 and Debtor2 only                               Type of NONPRIORITVunsecured claim:
           D Atleastoneofthedebtorsandanother                        D Student loans
           D Check ifthis claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyou didnot
           Is the claim subject to offset?                           report as priority claims

              No                                                     D Debtsto pension or profit-sharing plans, andother similar debts
           D Yes                                                        Other. Specify CREDIT

 4. 18     LENDING CLUB CORPORATION                                  Last 4 digits of account number        4158                                        $3, 767. 00
           Nonpriority Creditor's Name
           71 STEVENSON                                              Whenwasthe debt incurred?              06/01/17
           SUITE 300
          San Francisco, CA 94105
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     D Contingent
              Debtor 1 only
                                                                        Unliquidated
           D Debtor2 only
                                                                     D Disputed
           D Debtor 1 and Debtor2 only                               Type of NONPRIORITY unsecured claim:
           D At least one ofthe debtors and another                  D Student loans
           D Check ifthis claim is for a community debt              D Obligations arising out ofa separation agreement ordivorce thatyou did not
           Is the claim subject to offset?                           report as priority claims
              No                                                     D Debtsto pension or profit-sharing plans, andother similar debts
           D Yes                                                        Other.Specify CREDIT




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 7 of 12
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                                  Best Case Bankruptcy
           Case 4:19-bk-00192-BMW                               Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                      Desc
                                                               Main Document    Page 19 of 40
  Debtor 1 YANCYANDERSON                                                                              Case number (ifknown)

 4. 19     LENDUPCARD TAB BANK                                    Last 4 digits of account number        4158                                             $755.00
           Nonpriority Creditor's Name
           237 KEARNEY ST                                         When was the debt incurred?            06/01/18
           SUITE 197
           San Francisco, CA 94108
           NumberStreetCity StateZip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                  D Contingent
              Debtor 1 only
                                                                      Unliquidated
           D Debtor2 only
                                                                  D Disputed
           D Debtor 1 and Debtor 2 only                           Type of NONPRIORITYunsecured claim:
           D At least one ofthe debtors and another               D Student loans
           D Checkifthisclaimisfora communitydebt                 D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                        report as priority claims
              No                                                  D Debts to pension or profit-sharing plans, andother similar debts
           D Yes                                                      Other. Specify CREDIT

 4. 20     MAXWELL& MORGAN PC                                     Last 4 digits of account number        0151                                          $2, 000. 00
           Nonpriority Creditor's Name
          4854 EAST BASELINE ROAD                                 Whenwasthe debt incurred?              09/10/18
          SUITE 104
          Mesa, AZ 85206
           Number Street City State Zip Code                      As ofthe dateyou file, the claim is: Checkall thatapply
          Who incurred the debt? Check one.
                                                                  D Contingent
              Debtor 1 only
                                                                      Unliquidated
           D Debtor2 only
                                                                  D Disputed
           D Debtor 1 and Debtor 2 only                           Type of NONPRIORITYunsecuredclaim:
           D At least one ofthe debtors andanother                D Studentloans
           D Checkifthisclaimisfora communitydebt                 D Obligationsarisingoutofa separation agreement ordivorcethatyoudidnot
          Isthe claim subjectto offset?                           report as priority claims
              No                                                  D Debtstopensionorprofit-sharingplans,andothersimilardebts
          D Yes                                                      Other. Specify RANCHO ELDORADO HOA

 4.21     MAYO CLINICARIZONA                                      Last 4 digits of account number       8371                                             $200.00
          Nonpriority Creditor's Name
          PO BOX 790125                                           Whenwasthe debt incurred?             06/01/18
          Saint Louis, MO 63179
          NumberStreetCityStateZip Code                           As ofthe dateyou file, the claim is: Checkall thatapply
          Who incurred the debt? Check one.
                                                                  D Contingent
              Debtor 1 only
                                                                     Unliquidated
          D Debtor 2 only
                                                                  D Disputed
          D Debtor 1 and Debtor 2 only                            Type of NONPRIORITY unsecured claim:
          D At leastoneofthe debtors andanother                   D Studentloans
          D Check Ifthis claim is for a community debt            D Obligations arising out of a separation agreement ordivorce thatyou did not
          Is the claim subject to offset?                         report as priority claims
              No                                                  D Debtstopensionorprofit-sharingplans,andothersimilardebts
          D Yes                                                      Other. Specify CREDIT




Official Form 106 E/F                                 ScheduleE/F: Creditors Who Have Unsecured Claims                                                  Page 8 of 12
Software Copyright(c) 1996-2018Best Case, LLC- www.bestcase.com                                                                                   Best Case Bankruptcy


           Case 4:19-bk-00192-BMW                            Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                       Desc
                                                            Main Document    Page 20 of 40
 Debtor1 YANCYANDERSON                                                                                 Case number (if known)

|4. 22     MERRICK BANK                                           Last4 digits of account number         4158                                              $662.00
           Nonpriority Creditor's Name
          C/0 CMS                                                 When was the debt Incurred?            05/01/17
          PO BOX 9201
          OldBeth a e, NY 11804-9001
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                  D Contingent
              Debtor 1 only
                                                                      Unliquidated
          D Debtor2 only
                                                                  D Disputed
          D Debtor1 andDebtor2 only                               Type of NONPRIORITY unsecured claim:
          D At least one ofthe debtors and another                D Studentloans
          D Check ifthis claim Isfor a community debt             D Obligations arising out ofa separation agreement or divorce thatyou did not
          Isthe claim subjectto offset?                           report as priority claims
              No                                                  D Debtsto pension or profit-sharing plans, and other similar debts
          D Yes                                                       Other. Specify CREDIT

          MIDLAND CREDIT MANAGEMENT
 4. 23    INC                                                     Last4 digitsofaccountnumber            5623                                              $600. 00
          Nonpriority Creditor's Name
          2365 NORTHSIDEDR                                        Whenwasthe debtincurred?               06/01/17
          SUITE 300
          San D- o, CA92108
          Number Street City Slate Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                  D Contingent
              Debtor 1 only
                                                                      Unliquidated
          D Debtor2 only
                                                                  D Disputed
          D Debtor 1 and Debtor2 only                             Type of NONPRIORITY unsecured claim:
          D At leastoneofthedebtorsandanother                     D Studentloans
          D Check ifthis claim is for a community debt            D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
              No                                                  D Debts to pension or profit-sharing plans, andothersimilar debts
          D Yes                                                      Other.Specify CITIBANK

 4.24     ONE MAIN                                                Last4 digits of account number         4158                                           $4, 281. 00
          Nonpriority Creditor's Name
          PO BOX 1010                                             Whenwasthe debt Incurred?              06/01/17
          Evansville, IN 47706
          Number Street City State Zip Code                       As of the date you file, the claim Is: Check all that apply
          Who Incurred the debt? Check one.
                                                                  D Contingent
              Debtor 1 only
                                                                     Unliquidated
          D Debtor2 only
                                                                  D Disputed
          D Debtor1 andDebtor2 only                               Type of NONPRIORITYunsecured claim:
          D At least one ofthe debtors and another                D Studentloans
          D Check ifthis claim is for a community debt            D Obligations arising out ofa separation agreement or divorce thatyou did not
          Is the claim subject to offset?                         report as priority claims
              No                                                  D Debtsto pensionorprofit-sharingplans, andothersimilardebts
          D Yes                                                      Other. Specify CREDIT




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 9 of 12
SoftwareCopyright(c) 1996-2018Best Case, LLC- www.bestcase. com                                                                                     Best Case Bankruptcy

           Case 4:19-bk-00192-BMW                            Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                         Desc
                                                            Main Document    Page 21 of 40
  Debtor 1 YANCYANDERSON                                                                                    Case number (ifknown)

 4. 25      PORTFOLIO RECOVERY                                         Last4 digits of account number         4204 '                                            $396. 00
            Nonpriority Creditor's Name
            PO BOX 12914                                               Whenwasthe debt incurred?              06/01/17
            Norfolk, VA 23541
            Number Street City State Zip Code                          As ofthe dateyou file, the claim is: Checkall that apply
           Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                           Unliquidated
            D Debtor2 only
                                                                       D Disputed
            D Debtor 1 and Debtor 2 only                               Type of NONPRIORITf unsecured claim:
            D At least one ofthe debtors and another                   D Student loans
            D Check if this claim is for a community debt              D Obligations arising out of a separation agreement or divorce thatyou did not
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtsto pension or profit-sharing plans, and other similar debts
            D Yes                                                          Other.Specify CAPITAL ONE BANK

 4. 26     SYNCB/WALMART                                               Last 4 digits of account number        4158                                             $591.00
           Nonpriority Creditor's Name
           PO BOX 965024                                               Whenwasthe debt incurred?              07/01/17
           Orlando, FL 32896
           NumberStreetCityStateZip Code                               As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       D Contingent
               Debtor 1 only
                                                                           Unliquidated
           D Debtor2 only
                                                                       D Disputed
           D Debtor 1 and Debtor 2 only                                Type of NONPRIORITY unsecured claim:
           D At least one ofthe debtors and another                    D Studentloans
           D Checkifthisclaimisfora communitydebt                      D Obligations arising out ofa separation agreement ordivorce thatyou did not
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                          Other.Specily CREDIT

 4. 27     TD BANK USA                                                 Last 4 digits of account number        4158                                             $278.00
           Nonpriority Creditor's Name
           PO BOX 673                                                  When was the debt incurred?            06/01/17
           Minnea olis, MN 55440
           Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
           Whoincurredthe debt?Checkone.
                                                                       D Contingent
               Debtor 1 only
                                                                          Unliquidated
           D Debtor 2 only
                                                                       D Disputed
           D Debtor1 andDebtor2 only                                   Type of NONPRIORITYunsecured claim:
           D At leastone ofthe debtors and another                     D Student loans
           D Check ifthis claim is for a community debt                D Obligations arising out of a separation agreement ordivorce thatyou did not
           Is the claim subject to offset?                             report as priority claims
               No                                                      D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                          Other. Specify CREDIT




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 10 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                                                                    Best Case Bankruptcy


            Case 4:19-bk-00192-BMW                                Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                        Desc
                                                                 Main Document    Page 22 of 40
  Debtor 1 YANCYANDERSON                                                                                 Case number (if known)

 4. 28      THE HOME DEPOT/CBSD                                      Last 4 digits of account number       4158                                        $945.00
            Nonpriority Creditor's Name
            PO BOX 6497                                              When was the debt Incurred?           06/01 /17
           Sioux Falls, SD 57117-6497
            Number Street City State Zip Code                        As ofthe dateyou file, the claim is: Checkall thatapply
           Who Incurred the debt? Check one.
                                                                     D Contingent
               Debtor 1 only
                                                                         Unliquidated
            D Debtor 2 only
                                                                     D Disputed
           D Debtor1 andDebtor2 only                                 Type of NONPRIORITY unsecured claim:
           D At least oneofthe debtors and another                   D Student loans
           D Check ifthis claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               NO                                                    D Debts to pension or profit-sharing plans, andother similar debts
           D Yes                                                         Other. Specify CREDIT

           TROJAN PROFESSIONAL
 4. 29     SERVICES                                                  Last4 digits of account number        4158                                       $164.00
           Nonpriority Creditor's Name
           PO BOX 1270                                               When was the debt incurred?           04/01/17
           Los Alamitos, CA 90720
           Number Street City State Zip Code                         As of the dateyou file, the claim is: Checkall thatapply
           WhoIncurredthe debt? Checkone.
                                                                     D Contingent
               Debtor 1 only
                                                                         Unliquidated
           D Debtor2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITYunsecured claim:
           D Atleastoneofthedebtorsandanother                        D Student loans
           D Checkifthisclaimisfora communitydebt                    D Obligations arisingoutofa separation agreement ordivorcethatyoudidnot
           Isthe claim subjectto offset?                             report as priority claims
               No                                                    D Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                         Other.Specify MEDICAL

 4. 30     WEBBANK/FINGERHUT                                         Last 4 digits of account number       4158                                       $611.00
           Nonpriority Creditor's Name
           6250 RIDGEWOOD RD                                         When was the debt incurred?           07/01/16
           Saint Cloud, MN 56303
           Number Street City State Zip Code                         As of the dateyou file, the claim is: Checkall thatapply
           Who incurred the debt? Check one.
                                                                     D Contingent
               Debtor 1 only
                                                                         Unliquidated
           D Debtor2 only
                                                                     D Disputed
           D Debtor 1 and Debtor 2 only                              Type of NONPRIORITYunsecuredclaim:
           D At least one ofthe debtors and another                  D Student loans
           D Check ifthis claim is for a community debt              D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Is the claim subject to offset?                           report as priority claims
               No                                                    D Debtstopensionorprofit-sharingplans,andothersimilardebts
           D Yes                                                        Other. Specify CREDIT




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page11 of 12
Software Copyright (c) 1996-2018 Best Case, LLC www. bestcase. com                                                                             Best Case Bankruptcy


           Case 4:19-bk-00192-BMW                               Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                 Desc
                                                               Main Document    Page 23 of 40
  Debtor 1 YANCYANDERSON                                                                                   Case number (ifknown)

 4. 31     WELLSFARGO CARD SERVICE                                     Last 4 digits of account number        4158                                                        $35.00
           NonpriorityCreditor's Name
           PO BOX 14517                                                When was the debt incurred?            07/01/16
           Des Moines, IA 50306
           NumberStreetCity StateZipCode                               As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       D Contingent
                Debtor 1 only
                                                                          Unliquidated
           D Debtor 2 only
                                                                       D Disputed
           D Debtor1 andDebtor2 only                                  Type ofNONPRIORIPf unsecured claim:
           D At least one ofthe debtors and another                    D Studentloans
           D Checkifthisclaimisfora communitydebt                      D Obligationsarisingoutofa separationagreementordivorcethatyoudidnot
           Isthe claim subjectto offset?                              report as priority claims
                No                                                     D Debtsto pensionorprofit-sharingplans,andothersimilardebts
           a Yes                                                          Other.Specify CREDIT

 Part 3:     List Others to Be Notified About a Debt That You Alread Listed
5. Usethis pageontyifyou haveothersto be notifiedaboutyourbankruptcy,fora debtthatyoualreadylisted in Parts 1 or 2. Forexample, ifa collection agencyis
   tryingto collectfrom youfora debtyouoweto someoneelse, listtheoriginalcreditorIn Parts 1 or2,then listthecollection agencyhere.Similarly, ifyou have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. Ifyou do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:     Add the Amounts for Each T                 e of Unsecured Claim

6. Total theamountsofcertaintypesofunsecuredclaims.Thisinformationis forstatistical reporting purposesonly. 28 U.S.C. §159.Addtheamountsforeachtype
   of unsecured claim.

                                                                                                                                     Total Claim
                       6a.      Domestic support obligations                                                  6a. $                                     0.00
 Total claims
  from Part 1          6b.      Taxes and certain other debts you owe the government                          6b. $                                5 500. 00
                       6c.      Claims for death or personal injury while you were intoxicated                6c. $                                     0.00
                       6d. Other.Addall otherpriority unsecured claims. Writethatamount here.                 6d. $                                     0.00

                       6e. Total Priority. Add lines 6a through 6d.                                           6e.                                  5, 500. 00

                                                                                                                                     Total Clatm
                       6f,      Student loans                                                                 6f.                                       0.00
 Total claims
  from Part 2          6g. Obligations arising out of a separation agreement or divorce that you
                                did not reportas priorityclaims                                               6g.                                       0.00
                       6h.      Debts to pension or profit-sharing plans, and other similar debts          6h.                                      0.00
                       6i.      Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.                                28, 665. 00

                       6j.      Total Nonpriority. Add lines 6f through 6i.                                   6j.                             28, 665. 00




OfficialForm 106 E/F                                     Schedule BF: Creditors WhoHave Unsecured Claims                                                              Page12 of 12
SoftwareCopyright(c) 1996-2018Best Case, LLC-www.bestcase.com                                                                                                   Best Case Bankruptcy
           Case 4:19-bk-00192-BMW                                Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                                 Desc
                                                                Main Document    Page 24 of 40
  Fill in this information to identify your case:

 Debtor 1                  YANCYANDERSON
                           First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                        Middle Name


 United States Bankruptcy Court for the:               DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                       D Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Execute                                    Contracts and Unex ired Leases                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        D Yes. Fill in all ofthe information below even ifthe contacts of leases are listed on Schedule A/B:Property (Official Form 106A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). Seethe instructionsfor this form in the instruction bookletfor more examples of executorycontracts
        and unexpired leases.


        Person or company with whom you have the contract or lease                      Statewhatthe contract or lease is for
                          Name, Number, SU-eet, Gity, State and ZIP Code
  2.1
          Name



          Number        Street


          d                                        State                   ZIP Code
  2.2
          Name



          Number        Street


          Ci                                       State                   ZIP Code
  2.3
          Name



          Number        Street

          d                                        State                   ZIP Code
  2.4
          Name



          Number        Street

          d                                        State                   ZIPCode
  2.5
          Name



          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                ScheduleG: ExecutoryContracts and Unexpired Leases                                                Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                            Besl Case Bankruptcy
               Case 4:19-bk-00192-BMW                           Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                Desc
                                                               Main Document    Page 25 of 40
 Fill in this information to identify your case:

 Debtor 1                     YANCYANDERSON
                              First Name                            MiddleName         LastName
 Debtor 2
(Spouse if, filing)           First Name                            MiddleName         LastName

 United States Bankruptcy Courtfor the:                    DISTRICTOFARIZONA

Case number
(if known)                                                                                                                       D Check if this is an
                                                                                                                                   amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtorsare people or entities whoare also liable for any debts you may have. Be as complete and accurate as possible. Iftwo married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Pageto this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
     D Yes

      2. Withinthe last 8 years, have you lived in a community property state or territory? (Community property states andterritories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

     D No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                DNo
                       Yes.


                         In which community state or territory did you live?           -NONE-           Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 againas a codebtoronly if that person is a guarantoror cosigner. Makesure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F(Official Form 106E/F),or ScheduleG (Official Form 106G). Use Schedule D, ScheduleE/F, or ScheduleG to
      fill out Column 2.

               Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
               Name, Number, Street, Crty, Stats and ZIP Gode                                          Check all schedules that apply:

                                                                                                       D Schedule D, line
                Name                                                                                   D Schedule E/F, line
                                                                                                       D Schedule G, line
                Number               Street
                City                                        State                       ZIPCode



                                                                                                       D Schedule D, line
                Name
                                                                                                       D Schedule E/F, line
                                                                                                       D Schedule G, line
                Number               Street

                City                                        State                       ZIPCode




Official Form 106H                                                                 Schedule H: Your Codebtors                                     Page 1 of 1
SoftwareCopyright(c) 1996-2018Best Case, LLC-www.bBStcase.com                                                                                 Best Case Bankruptcy
             Case 4:19-bk-00192-BMW                                   Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                         Desc
                                                                     Main Document    Page 26 of 40
 Fill in this information to identify your case:

 Debtor 1                       YANCYANDERSON

 Debtor 2
 (Spouse, if filing)

 United States BankruptcyCourt forthe: DISTRICTOFARIZONA

 Case number                                                                                         Check if this is:
 (If known)
                                                                                                     D An amendedfiling
                                                                                                     a A supplementshowingpostpetition chapter
                                                                                                         13 income as of the following date:
 Official Form 1061                                                                                      MM/DD/YYYY
 Schedule I: Your Income                                                                                                                         12/15
Be as complete and accurateas possible. Iftwo married people are filing together (Debtor 1 and Debtor2), both are equally responsible for
supplying correct information. If you are married and not filingjointly, and your spouse is living with you, include information aboutyour
spouse. Ifyou are separated and your spouse is not filing with you, do not include information aboutyour spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Parti                 Describe Em lo ment

        Fill in your employment
        information.

        If you have more than one job,                             D Employed                               D Employed
        attach a separate page with           Employment status
        information about additional                                     Not employed                       D Notemployed
        employers.
                                              Occupation
        Include part-time, seasonal, or
        self-employed work.                   Employer's name

        Occupation may include student        Employer's address
        or homemaker, if it applies.

                                              How long employed there?

 Part 2:               Give Details About Monthl   Income

Estimate monthly income as of the date you file this form. Ifyou have nothing to report for any line, write $0 in the space. Includeyour non-filing
spouse unless you are separated.

Ifyou or your non-filing spouse have more than one employer, combine the information for all employers forthat person on the lines below. Ifyou need
more space, attach a separate sheet to this form.




        List monthly gross wages, salary, and commissions (before all payroll
2- deductions). If not paid monthly, calculate whatthe monthly wagewould be.               2- $               0. 00      $            N/A

3.      Estimate and list monthly overtime pay.                                            3. +$              0. 00      +$           N/A

4.      Calculate gross Income. Add line 2 + line 3.                                       4. $            0.00              $      N/A




OfGcial Form 1061                                                        Schedule I: Your Income                                               page 1
              Case 4:19-bk-00192-BMW                     Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                              Desc
                                                        Main Document    Page 27 of 40
  Debtor1 YANCYANDERSON                                                                             Case number (if known)




      Copy line 4 here                                                                        4. $

 5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                    5a.       $            0.00    $            N/A
      5b.    Mandatorycontributions for retirement plans                                  5b.           $            0. 00   $            N/A
      5c.    Voluntary contributions for retirement plans                                 5c.           $            0.00    $            N/A
      5d.    Required repayments of retirement fund loans                                 5d.           $            0.00    $            N/A
      5e.    Insurance                                                                    5e.           $            0.00    $            N/A
      5f.    Domesticsupport obligations                                                  5f.           $            0.00    $            N/A
      5g.    Union dues                                                                   5g.           $            0.00    $            N/A
      5h.    Other deductions. Specify:                                                   5h.+ $                     0.00 + $             N/A
 6.   Addthe payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.        $                0.00   $             N/A
 7.   Calculatetotal monthly take-home pay. Subtract line 6 from line 4.                  7.        $                0. 00   $            N/A
 8.   Listall other income regularly received:
      8a. Net incomefrom rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and businessshowinggross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                          8a.           $            0.00                 N/A
      Sb.    Interest and dividends                                                       8b.           $            0.00                 N/A
      8c.    Familysupport payments that you, a non-filing spouse, or a dependent
             regularly receive
             Includealimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                         8c.           $            0.00                 N/A
      8d.    Unemployment compensation                                                 8d.              $            0.00                 N/A
      8e.    Social Security                                                           8e.              $            0.00                 N/A
      8f.    Othergovernment assistancethatyou regularly receive
             Includecash assistance and the value (if known) of any non-cashassistance
             that you receive, such as food stamps (benefits underthe Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:     FOOD STAMPS                                                     8f.           $          340.00   $             N/A
      8g.    Pension or retirement income                                                 sg.           $            0.00   $             N/A
      8h.    Other monthly income. Specify:         DISABILITY POLICY                     8h.+          $        1,100.00 + $            N/A
 9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                            9.        $            1,440.00    $             N/A

 10. Calculate monthly income. Add line 7 + line 9.                                     10.     $           1 440. 00 + $
                                                                                                             ,                   N/A = $         1,440. 00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify:                                                                                                                 11. +$                0. 00

 12. Add the amount in the last column of line 10to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
      applies                                                                                                                    12. $          1,440.00
                                                                                                                                     Combined
                                                                                                                                     monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
                No.
      D         Yes. Explain:




OfficialForm 1061                                                      Schedule I: Your Income                                                    page 2
            Case 4:19-bk-00192-BMW                     Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                    Desc
                                                      Main Document    Page 28 of 40
 Fill in this information to identify your case:

 Debtor 1              YANCY ANDERSON                                                                       Check if this is:
                                                                                                             D     An amended filing
 Debtor 2                                                                                                    D     A supplement showing postpetition chapter
 (Spouse, if filing)                                                                                               13 expenses as of the following date:

 United States BankruptcyCourtfor the:    DISTRICTOF ARIZONA                                                       MM / DD / YYYY

 Case number
 (Ifknown)



 Official Form 106J
 Schedule J: Your Ex enses                                                                                                                                12/15
 Be as complete and accurateas possible. If two married people arefiling together, both are equally responsible for supplying correct
 information. If more space is needed, attach anothersheet to this form. On the top of any additional pages, writeyour name and case
 number (if known). Answer every question.

 Part 1:        Describe Your Household
 1.    I     is a joint case?
            No. Go to line 2.
       D Yes. DoesDebtor2 live in a separate household?
                 D No
                 D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2.    Do you have dependents?           D NO
       Do not list Debtor 1                        Fill out this information for   Dependent's relationship to        Dependent's       Does dependent
                                           Yes.
       and Debtor 2.                               each dependent.                 Debtor 1 or Debtor 2               age               live with you?

       Do not state the                                                                                                                 D No
       dependents names.                                                           SON                                22                  Yes
                                                                                                                                        D No
                                                                                                                                        D Yes
                                                                                                                                        D No
                                                                                                                                        D Yes
                                                                                                                                        a No
                                                                                                                                        D Yes
 3.    Do your expenses include                    No
       expenses of people other than
       yourself and your dependents?
                                                D Yes

 Part 2        Estimate Your Ongoing Monthly Expenses
   mate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental ScheduleJ, check the box at the top of the form and fill in the
applicable date.

 Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)

4.    The rental or home ownershipexpensesfor your residence. Includefirst mortgage
      payments and any rent forthe ground or lot.                                                           4. $                            890.00

      If not included in line 4:

      4a.      Real estate taxes                                                                           4a. $                                0.00
      4b.      Property, homeowner's, or renter's insurance                                                4b. $                                0.00
      4c.      Home maintenance, repair, and upkeep expenses                                               4c. $                                0.00
      4d.      Homeowner's association or condominium dues                                                 4d. $                                0.00
5.    Additional mortgage payments for your residence, such as homeequity loans                             5. $                                0.00




Official Form 106J                                                   ScheduleJ: Your Expenses                                                            page 1
           Case 4:19-bk-00192-BMW                        Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                       Desc
                                                        Main Document    Page 29 of 40
 Debtor 1     YANCYANDERSON                                                                               Case number (if known)

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                       6a.                                      150.00
       6b. Water, sewer, garbage collection                                                                     6b. $                                    110. 00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                       6c.   $                                  100. 00
       6d. Other. Specify:                                                                                      6d.   $                                    0.00
 7.    Food and housekeeping supplies                                                                            7.   $                                  340. 00
 8.    Childcare and children's education costs                                                                  8.   $                                    0.00
 9.    Clothing, laundry, and dry cleaning                                                                       9.   $                                   20.00
 10.   Personal care products and services                                                                      10.   $                                    0. 00
 11.   Medical and dental expenses                                                                              11.   $                                    0.00
 12.   Transportation. Include gas, maintenance, bus or train fare.
       Do not include car payments.                                                                             12. $                                    100.00
 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13. $                                     60. 00
 14.   Charitable contributions and religious donations                                                         14. $                                      0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a.   Life insurance                                                                                   15a.   $                                    0.00
       15b.   Health insurance                                                                                 15b.   $                                    0.00
       15c.   Vehicle insurance                                                                                15c.   $                                    0.00
       15d. Other insurance. Specify:                                                                          15d.   $                                    0.00
 16. Taxes. Do not includetaxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                                                   16. $                                      0.00
 17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                                           17a.   $                                    0. 00
       17b. Car payments forVehicle 2                                                                          17b.   $                                    0. 00
     17c. Other. Specify: STORAGE                                                                              17c.   $                                   50. 00
     17d. Other. Specify:                                                                                      17d.   $                                    0.00
 18. Your payments of alimony, maintenance, and support that you did not report as
     deductedfrom your pay on line 5, ScheduleI, Your Income(Official Form 1061).                               18. $                                      0.00
 19. Other payments you make to support others who do not live with you.                                              $                                    0.00
     Specify:                                                                              19.
 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
     20a. Mortgages on other property                                                    20a. $                                                            0. 00
       20b.   Real estate taxes                                                                               20b. $                                       0. 00
    20c. Property, homeowner's, or renter's insurance                                                         20c. $                                       0.00
    20d. Maintenance, repair, and upkeep expenses                                                             20d. $                                       0.00
    20e. Homeowner's association or condominium dues                                                          20e. $                                       0.00
21. Other: Specify:                                                                                            21. +$                                      0. 00
22.    Calculate your monthly expenses
       22a. Add lines 4 through 21.                                                                                                              1,820.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                                           1,820.00
23.    Calculate your monthly net income.
       23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                1 440.00
       23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                               1,820. 00
       23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                            23c. I $                               .
                                                                                                                                                         380.00

24.    Do you expectan increase or decrease in your expenseswithin the yearafter you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
       modification to the terms of your mortgage?
         No.
       D Yes.              Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                     page 2

        Case 4:19-bk-00192-BMW                           Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                                   Desc
                                                        Main Document    Page 30 of 40
 Fill in this information to identify your case:

 Debtor 1                  YANCYANDERSON
                           First Name                         Middle Name              Last Name
 Debtor 2
 (Spousa if, filing)       First Name                         Middle Name


 United States BankruptcyCourtfor the:                  DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                                           D Check if this is an
                                                                                                                                        amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                            12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form wheneveryou file bankruptcyschedules or amendedschedules. Makinga false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        D      No

               Yes. Nameof person             MARK BLUEMKE                                                         Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                   Declaration, and Signature (Official Form 119)


       Under pc        Ity of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that t            true and orrect.

        x                 t^                                           x
             YA        Y NDERS                                                             Signature of Debtor 2
             Signature f Deb r

             Date                                                                          Date




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                                                              Best Case Bankruptcy




             Case 4:19-bk-00192-BMW                               Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                  Desc
                                                                 Main Document    Page 31 of 40
  Fill in this information to identify your case:

  Debtor 1                   YANCYANDERSON
                             First Name                      MiddleName                  Last Name

  Debtor 2
  (Spouse if, filing)        First Name                      Middle Name                 Last Name

  United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                             D Check if this is an
                                                                                                                                          amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                             4/ie
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:         Give Details About Your Marital Status and WhereYou Lived Before

1.     What is your current marital status?

        D Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
        D Yes. List all ofthe places you lived in the last 3 years. Do not include where you live now.
         Debtor 1 Prior Address:                                 Dates Debtor 1            Debtor 2 Prior Address:                             Dates Debtor 2
                                                                 lived there                                                                   lived there

3. Withinthe last8 years, didyou ever livewitha spouseor legal equivalentin a community propertystate or territory? (Communityproperty
ste(es and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)
       a       No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2          Explain the Sources of Your Income


4.     Didyou haveany incomefrom employment or from operatinga businessduringthis yearorthetwo previouscalendaryears?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       Ifyou are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       D       No
               Yes. Fill in the details.

                                                   Debtorl                                                      Debtor 2
                                                   Sources of income               Gross income                 Sources of ineome              Gross income
                                                   Checkall that apply.            (before deduettons and       Check all that apply.          (before deductions
                                                                                   exclusions)                                                 and exctosions)
 From January1 of current year until                 Wages, commissions,                         $5, 100. 00    D Wages,commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                bonuses, tips

                                                   D Operating a business                                       D Operatinga business




OfficialForm 107                                        Statementof FinancialAffairsfor IndividualsFilingfor Bankruptcy                                         page 1
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                                 Best CaseBankruptcy
               Case 4:19-bk-00192-BMW                            Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                    Desc
                                                                Main Document    Page 32 of 40
  Debtor 1     YANCYANDERSON                                                                                Case number (if known)



                                                   Debtor 1                                                       Debtors
                                                   Sources of income               Gross income                   Sources of income              Gross income
                                                   Check ail that apply.           (before deductions and         Check alt that apply.          (before deductions
                                                                                   exclusions)                                                   and exclusions)
 For last calendar year:                             Wages, commissions,                          $55, 200. 00    D Wages,commissions,
 (January 1 to December 31, 2017)                  bonuses, tips                                                  bonuses, tips

                                                   a Operatinga business                                          D Operatinga business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have incomethat you received together, list it only once under Debtor 1.
      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      D      No
             Yes. Fill in the details.

                                                  Debtor 1
                                                  Sources of income                Gross income from              Sources of income              Gross income
                                                  Describe below.                  each source                    Describe below.                (before deductions
                                                                                   (before deductions and                                        and exclusions)
                                                                                   exeltisions)

 FromJanuary1 ofcurrentyearuntil Unemployment                                                      $7, 280. 00
 the date you filed for bankruptcy:

                                                  FOODSTAMPS                                       $2, 560. 00

                                                  401 K WITHDRAWAL                                $35, 000. 00

                                                  HELP FROM FAMILY                                 $5, 000. 00

 Part 3:      List Certain Pa merits You Made Before You Filed for Bankru tc

6.    Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?
      D No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consume/-cfefcte are defined in 11 U. S. C. § 101(8) as "incurred by an
                    individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6, 425* or more?
                     D No.         Goto line7.
                     ^ Yes Listbeloweachcreditortowhomyoupaida total of$6,425*ormoreinoneormorepayments andthetotal amountyou
                                   paid that creditor. Do not include payments for domesticsupport obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

             Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                     0 Yes Listbeloweachcreditortowhomyoupaida totalof$600ormoreandthetotalamountyoupaidthatcreditor.Donot
                                   include payments for domesticsupport obligations, such as child support and alimony. Also, do not include payments to
                                  an attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment           Total amount           Amount you         Was this payment for.
                                                                                                   paid             stilt owe




OfficialForm 107                                       Statementof FinancialAffairsfor IndividualsFilingfor Bankruptcy                                            page 2
SoHware Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                                    Best Case Bankruptcy

            Case 4:19-bk-00192-BMW                              Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                       Desc
                                                               Main Document    Page 33 of 40
  Debtor 1      YANCYANDERSON                                                                            Case number (ifknown)



 7.    Within 1 year before you filed for bankruptcy, did you make a paymenton a debt you owed anyonewhowas an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
       includingonefora businessyouoperate asa sole proprietor. 11 U.S.C. § 101. Includepaymentsfordomesticsupportobligations, such aschild
       support and alimony.

             No
       D Yes. Listall paymentsto an insider.
        insider's Name and Address                                                        Total amount         Amount you        Reasontor this payment
                                                                                                                 still owe

8.     Within 1 year beforeyou filed for bankruptcy, did you make any payments or transfer any property on account of a debtthat benefited an
       insider?
       Include payments on debts guaranteed or cosigned by an insider.

             No
       D Yes. List all payments to an insider
        Insider's Name and Address                               Dates of payment         Total amount         Amount you        Reasonforthis payment
                                                                                                    paid           still owe     Include creditor's name

 Part4:       Identi     Le al Actions, Re ossessions, and Foreclosures

      Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

             No
             Yes. Fill in the details.
       Case title                                                Nature of the case      Court or agency                         Status of the case
       Case number
       RANCHO EL DORADO                                          CIVIL                   IN THE JUSTICE COURT,                   D Pending
       HOMEOWNERS                                                                        MARICOPA PRECINCT                       D On appeal
       ASSOCIATION AN ARIZONA                                                            19955 NORTH WILSON                      D Concluded
       NONPROFIT                                                                         AVENUE
       CORPORATION                                                                       PO BOX 201
       PLAINTIFF                                                                         Maricopa, A285139
       vs
       YANCEY ANDERSON AND DOE
       SPOUSE
       ANDERSON A MARITAL
       COMMUNITf
       DEFENDANTS
       CV201800151


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

             No. Go to line 1 1.
      D     Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                                                Value of the
                                                                                                                                                           property
                                                                 Explainwhat happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment becauseyou owed a debt?
        No
    D Yes. Fill in the details.
       Creditor Name and Address                                 Describethe action th®creditor took                    Date action was                    Amount
                                                                                                                        taken




OfficialForm 107                                       StatementofFinancialAffairsfor IndividualsFilingfor Bankruptcy                                          page 3
Software Copyright (c) 1996-2018 Best Case, LLC-www. bestcase. com                                                                                Best Case Bankruptcy

            Case 4:19-bk-00192-BMW                              Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                    Desc
                                                               Main Document    Page 34 of 40
  Debtor 1      YANCYANDERSON                                                                             Case number (if known)




 12. Within 1 year beforeyou filed for bankruptcy, wasany of your property in the possession of an assigneefor the benefitof creditors, a
       court-appointed receiver, a custodian, or another official?
              No
       D Yes

  PartS:       List Certain Gifts and Contributions

13.        ithin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
              No
       D Yes. Fill in the detailsforeachgift.
        Gifts with a total value of more than $600                     Describe the gifts                                 Dates you gave                   Value
        per person                                                                                                        the gifts

        Person to Whom You Gave the Gift and
        Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
             No
       D Yes. Fill in thedetailsforeachgiftorcontribution.
        Gifts or contributions to charities that total                 Describe what you contributed                            you
                                                                                                                          Dates you                       Value
        more than $600                                                                                                    contributed
        Charity's Name
       Address (Number,Street,City,StateandZIPCode)

 Part 6:       List Certain Losses

15. Within I year beforeyou filed for bankruptcy or since you filed for bankruptcy, did you lose anything becauseof theft, fire, other
      disaster, or gambling?

             No
       D     Yes. Fill in the details.
       Describe the property you lost and                     Describe any insurance coverage for the foss                Date of your      Value of property
       how the loss occurred                                                                                              loss                           lost
                                                              Include the amount that insurance has paid. List
                                                              peflding insurance claims on line 33 of Schedule A/B:
                                                              Proper^.

 Part 7:       List Certain Pa ments or Transfers

16. Within1 year beforeyou filedfor bankruptcy, didyou or anyoneelseactingon your behalfpayor transferany propertyto anyoneyou
      consulted aboutseeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      D      No
             Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property              Date payment             Amount of
       Address                                                         transferred                                        or transfer was             payment
       Email or website address                                                                                           made
       Person Who Made the Payment, if Not You
       AFFORDABLEDOCUMENTSAZ LLC                                                                                          09-28-18                    $200.00
       60 E RIO SALADOPKWY
       SUITE 900
       Tempe, AZ 85281




OfficialForm 107                                         StatementofFinancialAffairsforIndividualsFilingfor Bankruptcy                                     page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcass. com                                                                          Best Case Bankruptcy

            Case 4:19-bk-00192-BMW                                Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                              Desc
                                                                 Main Document    Page 35 of 40
  Debtor 1 YANCY ANDERSON                                                                                   Case number (if known)



 17. Within I year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
       promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

               No
       D       Yes. Fill in the details.
       PersonWhoWas Paid                                            Description and value of any property                    Date payment               Amount of
       Address                                                      transferred                                              or transfer was              payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
      include gifts and transfers that you have already listed on this statement.
               No
      D        Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                    Describe any property or       Date transfer was
       Address                                                      property transferred                        payments received or debts     made
                                                                                                                paid In exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary?fThese are often called asset-protectiondevices.)
               No
      D     Yes. Fill in the details.
       Name of trust                                                Description and value of the properly transferred                          Date Transfer was
                                                                                                                                               made

 Part 8:        List of Certain Financial Accounts, Instruments, Safe De osit Boxes, and Stora e Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Includechecking,savings, money market, or otherfinancialaccounts; certificatesofdeposit; sharesin banks,credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
          No
      D Yes. Fill in the details.
       Nameof FinancialInstitutionand                          Last4 digits of             Type of account or           Date accountwas               Last balance
       Address (Number,Street,City. Stateandzip                account number              instrument                   closed, sold,           before closing or
       Coda)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Doyou nowhave,or didyou havewithin1 yearbeforeyou filed for bankruptcy, anysafedepositboxor otherdepositoryforsecurities,
      cash, or other valuables?


            No
      D     Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to It?             Describe the contents                Do you still
       AddreSS(Number,Street,City, StateandZIPCoda)                 Address (Number,Street,City,                                                have it?
                                                                    StateandZIPe;mW

22. Haveyou stored property in a storage unitor placeotherthanyour homewithin 1 yearbeforeyou filedfor bankruptcy?
            No
      D     Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or hadaccess              Describe the contents                Do you still
       Address (Number,Slreat,City, StateandZIPCods)                toil?                                                                       have it?
                                                                    Address (Number,Strest,City,
                                                                    Stats andap Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     pages
SoftwareCopyright(c) 1996-2018Best Case, LLC- w^»fw.bestcase.com                                                                                 Best Case Bankmptcy

           Case 4:19-bk-00192-BMW                             Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                     Desc
                                                             Main Document    Page 36 of 40
 Debtor1 YANCYANDERSON                                                                                         Case number orknown}



 Part 9:      Identl     Pro e        You Hold or Control for Someone Else


23. Doyou hold or control any property that someone else owns? Includeany property you borrowedfrom, are storing for, or hold in trust
      for someone.


             No
      D Yes. Fill in the details.
       Owner's Name                                                    Where is the property?                  Describe the property                       Value
       Address(Number.Street,City.StarandZIPCoda)                      (Number,Street, City, StateandZIP
                                                                       Gortrt

 Part 10: Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surfacewater, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      S/(e means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

             No
      D Yes. Fill in the details.
       Name of site                                                    Governmental unit                          Environmental law. If you   Date of notice
       Address (Number, Street, City, State and ZIPCode)               Address (Number,Street,City,Stateand       know it
                                                                       ZIPCimW

25. Haveyou notified any governmental unit of any release of hazardousmaterial?

        No
      D Yes. Fill in the details.
       Name of site                                                    Governmental unit                          Environmental law, if you   Date of notice
       Address (Number, Street, City, State andZIPCode)                AddreSS (Number,Street,City, Stateand      know It
                                                                       ZIPCptto)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
      D Yes. Fill in the details.
       CaseTitle                                                       Court or agency                         Nature of the case             Status of the
       Case Number                                                     Name                                                                   case
                                                                       Address (Number, Street, City,
                                                                       Starts arwl ZIP GoOff)

 Part 11:     Give Details About Your Business or Connections to An Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             D A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             D A memberofa limited liabilitycompany(LLC)or limited liability partnership(LLP)
             D A partnerin a partnership
             D An officer, director, or managing executive of a corporation
             D An ownerof at least 5% of the voting or equity securities of a corporation




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankmptcy                                pages

Software Copyright (c) 1996-2018 Best Case, LLC - www. bestcase. com                                                                           Best Case Bankruptcy

            Case 4:19-bk-00192-BMW                                Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                              Desc
                                                                 Main Document    Page 37 of 40
Debtor 1       YANCYANDERSON                                                                                  Case number (ifknown)




            No. None of the above applies. Goto Part 12.
      D Yes. Checkall that apply above and fill in the details belowfor each business.
        Business Name                                             Describethe nature of the business                Employer Identification number
       Address                                                                                                      Do not Include Social Security number or ITIN.
       {Number,Street,City, StateandZIPCode)                      Name of accountant or bookkeeper
                                                                                                                    Dates business existed

28. Within2 years beforeyou filed for bankruptcy, didyou give a financialstatementto anyoneaboutyour business?Includeall financial
      institutions, creditors, or other parties.

            No
      D Yes. Fill in the details below.
       Name                                                       Date Issued
       Address
       (Number, Street, City, StateandZIPCode)

Part 12:      Si n Below

I have read the answers on this Statementof FinancialAffairsand any attachments, and I declare under penalty of perjury thatthe answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
witha bankruptcycasecan result in fines upto $250,000, or imprisonmentfor upto 20years, or both.
18 -S . §§152,              1, 1519, an
      ®- ,
YANC ANDE                                                                 Signature of Debtor 2
Sighatu e of D
               ^

Date                                                                      Date

Didyou attachadditionalpagesto YourStatementof FinancialAffairsfor IndividualsFilingforBankruptcy(Official Form 107)?
   No
D Yes

Didyou payor agreeto paysomeonewhois notan attorneyto helpyou fill out bankruptcyforms?
D No
   Yes. Name of Person              MARK BLUEMKE . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
Software Copyright (c) 1896-2018 Best Case, LLC - www. bestcase. com                                                                                  Best Case Bankruptcy

           Case 4:19-bk-00192-BMW                                Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                                      Desc
                                                                Main Document    Page 38 of 40
 Fill in this information to identify your case:
 Debtor 1                 YANCYANDERSON
                          First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name               Last Name


 United States BankruptcyCourt forthe:                 DISTRICTOFARIZONA

 Case number
 (if known)                                                                                                            d Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filin                                                       Under Cha ter7                          12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
               on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurateas possible. If more space is needed, attach a separate sheetto this form. On the top of any additional pages,
              write your name and case number (if known).

 Part 1         List Your Creditors Who Have Secured Claims

1 For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.




    Creditor's         CAPITALONEAUTO FINANCE                                 Surrender the property.                    No
    name:                                                                  D Retainthe property and redeem it.
                                                                           D Retain the property and enter into a     D Yes
    Description of 2015 HYUNDAI SONATA                                        Reaffinnation Agreement.
    property       110,000 miles                                           D Retain the property and [explain]:
    securing debt:



    Creditor's         INTERCAPLENDINGINC                                  D Surrenderthe property.                   D No
    name:                                                                  D Retain the property and redeem it.
                                                                              Retain the property and enter into a      Yes
    Description of 21356 N DUNCAN DR Maricopa,                                Reaffirmation Agreement.
    property             AZ85138 PinalCounty                               D Retainthe propertyand[explain]:
    securing debt:

 Part 2           ist Your Unex ired Personal Pro e               Leases
horany unexpired personal property lease thatyou listed in ScheduleG: Executory Contracts and Unexpired Leases(Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).




Official Form 108                                        Statementof Intention for IndividualsFiling UnderChapter 7                            page 1
Software Copyright (c) 1996-2018 Best Case, LLC-wtvw. bestcasa. com                                                                Best Case Bankruptcy




             Case 4:19-bk-00192-BMW                              Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                    Desc
                                                                Main Document    Page 39 of 40
  Debtor 1     YANCYANDERSON                                                                   Case number (ifknown)


  Lessor's name:                                                                                                       D No
  Description of leased
  Property:                                                                                                            D Yes

  Lessor's name:                                                                                                       D No
  Description of leased
  Property:                                                                                                            D Yes

  Lessor's name:                                                                                                       n No
  Description of leased
  Property:                                                                                                            D Yes

 Lessor's name:                                                                                                        D No
 Description of leased
 Property:                                                                                                             D Yes

 Lessor's name:                                                                                                        D No
 Description of leased
 Property:                                                                                                             D Yes
 Lessor's name:                                                                                                        D No
 Description of leased
 Property:                                                                                                             D Yes

 Lessor's name:                                                                                                        D No
 Description of leased
 Property:                                                                                                             D Yes

 Part 3:      Si n Below

Under enalty of perjury, I declarethat I have indicatedmy intention aboutany property of my estatethatsecuresa debtand any personal
prope         at is su " ct to an unexpired lease.


       Y      C A D         SON                                                  Signature of Debtor 2
       Signal re of e or 1

                                       r-
       Date                                                                   Date




OfficialForm 108                                    Statementof Intentionfor IndividualsFiling UnderChapter 7                              page 2
SoftwareCopyright(c) 1996-2018Best Case, LLC- www.bestcase.com                                                                 Best Case Bankruptcy




           Case 4:19-bk-00192-BMW                           Doc 9 Filed 01/08/19 Entered 01/09/19 08:43:05                     Desc
                                                           Main Document    Page 40 of 40
